            Case 3:20-cr-01890-DMS Document 55 Filed 05/31/22 PageID.142 Page 1 of 5
AO 245B (CASO Rev. 1/19) Judgment in a Criminal Case


                                         UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF CALIFORNIA
              UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                    V.                               (For Offenses Committed On or After November 1, 1987)
             MARY LYNN MAXINE WOOD (I)
                                                                        Case Number:          3:20-CR-01890-DMS


                                                                     Kris J. Kraus
                                                                     Defendant' s Attorney
USM Number                          95307-298
• -
THE DEFENDANT:
IZI pleaded guilty to count(s)            One of the Superseding Information

D     was found guilty on count(s)
      after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):


Title and Section / Nature of Offense                                                                                  Count
21 :952,960 - Importation Of Methamphetamine (Felony)                                                                      ls




     The defendant is sentenced as provided in pages 2 through
                                                                  - - -5- - - of this judgment.
The sentence is imposed pursuant to the Sentencing Refonn Act of 1984.
D     The defendant has been found not guilty on count(s)

IZI Count(s) In underlying_Infonnation                         is          dismissed on the motion of the United States.

!ZI   Assessment : $100.00


D     JVT A Assessment*: $

      *Justice for Victims of Trafficking Act of 2015, Pub. L. No. I 14-22.
IZI   No fine                   D Forfeiture pursuant to order filed                                           , included herein.
       IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant' s economic circumstances.

                                                                     Mav 27 2022
                                                                     Date of Imposition of Sentence



                                                                     HON. DA                 . S BRAW
                                                                     UNITED STATES DISTRICT JUDGE
           Case 3:20-cr-01890-DMS Document 55 Filed 05/31/22 PageID.143 Page 2 of 5
AO 245B (CASO Rev. 1/ 19) Judgment in a Criminal Case

DEFENDANT:                MARY LYNN MAXINE WOOD ( I)                                               Judgment - Page 2 of 5
CASE NUMBER:              3:20-CR-0 1890-DMS

                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
 Sixty (60) months




 •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 IZI   The court makes the following recommendations to the Bureau of Prisons:
       That the defendant participates in the 500 hours residential drug and alcohol treatment program. (RDAP)
       That the defendant serve her custodial term in Oklahoma, Tx.




 •     The defendant is remanded to the custody of the United States Marshal.

 •     The defendant must surrender to the United States Marshal for this district:
       •    at                              A.M.              on
       •     as notified by the United States Marshal.

       The defendant must surrender for service of sentence at the institution designated by the Bureau of
 •     Prisons:
       D     on or before
       •     as notified by the United States Marshal.
       •     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to
                                - - - - - - - -- -- - - -
 at - - - - - - - - - - - - , with a certified copy of this judgment.


                                                                   UNITED STA TES MARSHAL



                                     By                     DEPUTY UNITED STATES MARSHAL



                                                                                                  3 :20-CR-0 1890-DMS
               Case 3:20-cr-01890-DMS Document 55 Filed 05/31/22 PageID.144 Page 3 of 5
     AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

     DEFENDANT:               MARY LYNN MAXINE WOOD (I)                                                      Judgment - Page 3 of 5
     CASE NUMBER:             3 :20-CR-0 1890-DMS

                                                  SUPERVISED RELEASE
Upon release from imprisonment, the defend ant will be on supervised release for a term of:
Three (3) years

                                              MANDATORY CONDITIONS
I.   The defendant must not commit another federa l, state or local crim e.
2.   The defendant must not unlawfully possess a controlled sub tance .
3.   The defendant must not illegally possess a contro lled substance. The defendant must refrain from any unlawful use of a
     controlled substance. The defendant mu st submit to one drug test within 15 days of release from imprisonment and at least
     two periodic drug tests thereafter as detennined by the court. Testing requirements will not exceed submission of more
     than 4 drug tests per month during the term of supervision, unless otherwise ordered by the court.
          • The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low
             risk of future substance abuse. (check if applicable)
4.   • The defendant must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
     a sentence ofrestitution. (check if appl icable)
5.    ~The defendant must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.   • The defendant must comply with the req uirements of the Sex Offender Registration and Notification Act (34 U.S.C. §
     20901 , et seq.) as directed by the probation offi cer, the Bureau of Prisons, or any state sex offender registration agency in
     the location where the defendant resides, works, is a stud ent, or was convicted of a qualifying offense. ( check if
     applicable)
7.   • The defendant must participate in an approved program fo r domestic violence. (check if applicable)
The defendant must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.




                                                                                                           3:20-CR-01890-DMS
             Case 3:20-cr-01890-DMS Document 55 Filed 05/31/22 PageID.145 Page 4 of 5
 AO 2458 (CASO Rev. 1/19) Judgment in a Cri minal Case

 DEFENDANT:                   MARY LYNN MAXINE WOOD ( I)                                                               Judgment - Page 4 of 5
 CASE NUMBER:                 3:20-CR-01890- DMS

                                      ST AND ARD CONDITIONS OF SUPERVISION
As part of the defendant' s supervised rel ease, the defendant m ust comply with the following standard conditions of
supervision. These conditions are imposed because they establ ish the basic expectations for the defendant' s behavior
while on supervision and identify the minimum tools needed by probation officers to keep informed, report to the
court about, and bring about improvements in the defendant' s cond uct and condition .

I. The defendant must report to the probation office in the federal judicial district where they are authorized to reside within 72
   hours of their release from imprisonm ent, unless the probation officer instructs the defendant to report to a different probation
   office or within a different time fram e.

2. After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
   about how and when the defendant must report to the probation officer, and the defendant must report to the probation officer
   as instructed.

3. The defendant must not knowingly leave the federal judicial district where the defendant is authorized to reside without first
   getting pennission from the court or the probation officer.

4. The defendant must answer truthfully the questions asked by their probation officer.

5. The defendant must live at a place approved by the probation officer. If the defendant plans to change where they live or
   anything about their living arrangements (such as the people living with the defendant), the defendant must notify the
   probation officer at least IO days before the change. If notifying the probation officer in advance is not possible due to
   unanticipated circumstances, the defendant must notify the probation offi cer within 72 hours of becoming aware of a change or
   expected change.

6. The defendant must allow the probation offi cer to visit them at any t ime at their home or elsewhere, and the defendant must
   pennit the probation officer to take any items proh ibited by the conditions of thei r supervision that he or she observes in plain
   view.

7. The defendant must work full time (at least 30 hou rs per week) at a lawfu l type of employment, unless the probation officer
   excuses the defendant from doing so. If the defendant does not have full -time employment the defendant must try to find full-
   time employment, unless the probation officer excuses the defendant from do ing so. If the defendant plans to change where the
   defendant works or anything about their work (such as their position or the ir j ob responsibilities), the defendant must notify the
   probation officer at least IO days before the change. If notifying the probation officer at least IO days in advance is not possible
   due to unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a
   change or expected change.

8. The defendant must not communicate or interact with someone they know is engaged in criminal activity. If the defendant
   knows someone has been convicted of a felony, they must not know ingly communicate or interact with that person without
   first getting the pennission of the probation officer.

9. If the defendant is arrested or questioned by a law enforcement officer, the defendant must notify the probation officer within 72 hours.

I 0. The defendant must not own, possess, or have access to a firearm, am mun ition, destructive device, or dangerous weapon (i .e. ,
     anything that was designed, or was modified fo r, the specific purpose of causing bod ily injury or death to another person such
     as nunchakus or tasers).

11 . The defendant must not act or make any agreement with a law enforcement agency to act as a confidential human source or
     infonnant without first getting the penn ission of the court.

12. If the probation officer determines the defendant poses a risk to an other person (including an organization), the probation
    officer may require the defendant to notify the person about the risk and the defendant must comply with that instruction.
    The probation officer may contact the person and confirm that the defendant notified the person about the risk.

13. The defendant must follow the instruct ions of the probat ion officer related to the conditions of supervision.



                                                                                                                      3:20-CR-01890-DMS
           Case 3:20-cr-01890-DMS Document 55 Filed 05/31/22 PageID.146 Page 5 of 5
AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

DEFENDANT:              MARY LYNN MAXINE WOOD ( I)                                             Judgment - Page 5 of 5
CASE NUMBER:            3 :20-CR-0 1890-DMS

                                 SPECIAL CONDITIONS OF SUPERVISION


     1. Report all vehicles owned or operated, or in which yo u have an interest, to the probation officer.

     2. Submit your person, property, house, residence, vehicle, papers, computers (as defined in 18
        U.S.C. § 1030(e)(l)), other electronic communications or data storage devices or media, or office, to a
        search conducted by a United States probation officer. Failure to submit to a search may be grounds for
        revocation of release. The offender must warn any other occupants that the premises may be subject to
        searches pursuant to this condition.

        An officer may conduct a search pursuant to this condition only when reasonable suspicion exists that
        the offender has violated a condition of his supervision and that the areas to be searched contain evidence
        of this violation. Any search must be conducted at a reasonable time and in a reasonable manner.

     3. Participate in a program of drug or alcohol abuse treatment, including drug testing and counseling, as
        directed by the probation officer. Allow for reciprocal release of information between the probation
        officer and the treatment provider. May be required to contribute to the costs of services rendered in an
        amount to be determined by the probation officer, based on ability to pay.
     4. Participate in a program of mental health treatment as directed by the probation officer, take all
        medications as prescribed by a psychiatrist/physician, and not discontinue any medication without
        permission. The court authorizes the release of the presentence report and available psychological
        evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
        release of information between the probation officer and the treatment provider. May be required to
        contribute to the costs of services rendered in an amount to be determined by the probation officer, based
        on ability to pay.
     5. Resolve all outstanding warrants within 60 days.
     6. Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of up to
        180 days (non-punitive).

II




                                                                                             3 :20-CR-0 1890-DMS
